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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

   v.                                      Criminal No. 11-cr-134-2-JL

Deborah Rivera-Jurado



                                O R D E R


    Defendant has been charged with: (1) conspiracy to possess

with the intent to distribute and to distribute cocaine; and (2)

use of the United States mail to commit a drug-trafficking

offense.   Those charges are based on defendant’s alleged

conspiracy with Algenis Quintana-Gonzalez to ship cocaine from

Puerto Rico to Manchester, New Hampshire, and to receive payment

for that cocaine in the form of postal money orders sent to

Puerto Rico.   Before the court is defendant’s motion to transfer

the case against her from the District of New Hampshire to the

District of Puerto Rico, pursuant to Rule 21(b) of the Federal

Rules of Criminal Procedure.      The United States objects.            For

the reasons that follow, defendant’s motion to transfer is

granted.

    The Federal Rules of Criminal Procedure provide, in

pertinent part:
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    Upon the defendant’s motion, the court may transfer
    the proceeding, or one or more counts, against that
    defendant to another district for the convenience of
    the parties, any victim, and the witnesses, and in the
    interest of justice.

Fed. R. Crim. P. 21(b).      When exercising its “broad

discretionary power to transfer a criminal prosecution to

another district,” United States v. Muratoski, 413 F. Supp. 2d

8, 9 (D.N.H. 2005), a trial court should consider:

    (1) the location of the defendant; (2) the location of
    possible witnesses; (3) the location of events likely
    to be in issue; (4) the location of documents and
    records likely to be involved; (5) the disruption of
    defendant’s business if the case is not transferred;
    (6) the expense to the parties; (7) the location of
    counsel; (8) the relative accessibility of the place
    of trial; (9) the docket condition of each district or
    division involved; and (10) any other special
    considerations relevant to transfer.

Id. (citing Platt v. Minn. Mining & Mfg. Co., 376 U.S. 240, 243-

44 (1964)).   Moreover:

    It is unlikely that any one of these factors will be
    present by itself in a particular case. Ordinarily
    the various factors appear in combination, with some
    pointing in favor of transfer and others against
    transfer. It is incumbent on the court in such a case
    to strike a balance and decide which factors seem to
    be of greatest importance in that case.

Muratoski, 413 F. Supp. 2d at 10 (quoting 2 Charles A. Wright &

Arthur R. Miller, Federal Practice and Procedure § 344 at 275).

In Muratoski, Judge McAuliffe was guided by the following




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passage from an opinion of the Court of Appeals for the Second

Circuit:

    Recognizing the unfairness and hardship to which trial
    in an environment alien to the accused exposes him,
    and the important policies underlying the venue
    provisions of the Constitution and Bill of Rights, the
    Supreme Court has declared that venue statutes should,
    whenever possible, be construed so to permit trial at
    the residence of the defendant.

413 F. Supp. 2d at 12 (quoting United States v. Cashin, 281 F.2d

669, 675 (2d Cir. 1960); citing United States v. Johnson, 323

U.S. 273, 275 (1944)).       Based on the following application of

the Platt factors, defendant has made a meritorious argument in

favor of transferring the case against her to the District of

Puerto Rico.

    Location of the defendant.           All agree that defendant is a

resident of Puerto Rico.      “Defendants, ordinarily, should be

tried where they reside.”       Muratoski, 413 F. Supp. 2d at 11

(citing United States v. Russell, 582 F. Supp. 660, 662

(S.D.N.Y. 1984)).     The United States argues that defendant has

brought the inconvenience, expense, and unease of facing trial

on herself by participating in a drug conspiracy that reached

into New Hampshire.     Determining whether or not defendant

participated in a drug conspiracy is, of course, the point of

her trial.   This factor favors transfer.




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    Location of possible witnesses.         Defendant identifies a

host of witnesses the government is likely to call who reside in

Puerto Rico: (1) witnesses who would be called upon to link her

to the package of money orders sent to Puerto Rico and to link

her with her co-defendant; (2) the co-defendant’s federal

probation officer; (3) law-enforcement agents who began the

initial investigation; (4) law-enforcement officers who arrested

defendant and her co-defendant; (5) bank employees who engaged

in transactions involving the money orders defendant is alleged

to have received; and (6) keepers of relevant records.

Defendant also argues that any witnesses she might call reside

in Puerto Rico.     See Muratoski, 413 F. Supp. 2d at 11

(“conducting defendant’s criminal trial in this district would

place a substantial burden on any witnesses he chose to call”)

(citing United States v. Aronoff, 463 F. Supp. 454, 458

(S.D.N.Y. 1978)).     Defendant does concede, however, that the

postal inspector who investigated the case in New Hampshire, and

a confidential informant, both reside in New Hampshire.             The

government argues that this factor is basically a wash, on

grounds that trial in Puerto Rico is just as inconvenient for

New England witnesses as trial in New Hampshire would be for

Puerto Rico witnesses.




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   Defendant has the better argument.          The witnesses from

Puerto Rico appear to be more numerous than those from New

England, and their testimony less amenable to replacement by

deposition.    Given the number of witnesses from Puerto Rico, and

the centrality of their evidence, this factor favors transfer.

    Location of events likely to be in issue.                Defendant

focuses on the conduct she and her co-defendant are alleged to

have engaged in in Puerto Rico, such as receiving a package

containing proceeds from drug sales.         The government focuses on

law-enforcement activity in New Hampshire, such as K-9 searches

of packages from Puerto Rico and the execution of a controlled

delivery of one of those packages.         While this case involves

some events that took place in New Hampshire, the acts in which

defendant is alleged to have directly engaged all took place in

Puerto Rico.   While the New Hampshire events are necessary to

prove the government’s case, the location of defendant’s

allegedly criminal acts in Puerto Rico tips the scale in favor

of transfer.

    Location of documents and records likely to be involved.

“The location of documents and records is not a major concern in

these days of easy and rapid transportation.”            Muratoski, 413 F.

Supp. 2d at 11 (quoting United States v. Posner, 549 F. Supp.




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475, 478 (S.D.N.Y. 1982)).      Defendant does not argue that the

documents or records likely to be involved in this case are

located in Puerto Rico, but, rather, that they can easily be

transported there.    The government argues that most of the

relevant documents are located in this district, and that it

makes little sense for venue to turn on the original location of

those documents.    In light of Muratoski, this factor does not

strongly favor trial in either district.

    Disruption of defendant’s business if the case is not

transferred.   Defendant has a job as an administrative assistant

in a public housing project.      Traveling to New Hampshire to

defend against the government’s charges will impose a disruption

on her employment well in excess of the disruption that would

result from her being tried in Puerto Rico, given the distance

involved and the necessity of traveling to New Hampshire by air.

In an argument that echoes the argument it made on the first

factor, the government responds to defendant’s concerns about

lost wages and keeping her job by saying:

         While the defendant’s appearance in New Hampshire
    for trial would cause her to be absent from her job
    for a brief period, this is the same place of employ
    from which she was accepting money packages from New
    Hampshire. It is unjust for her now to use her
    employment as a basis for a transfer.




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Gov’t’s Obj. (doc. No. 11), at 5.          The government contends that

defendant has admitted to receiving money packages at her place

of employment, but, whether defendant was engaging in criminal

activity at her place of employment is not an established fact;

it is what the government intends to prove at trial.               Given that

defendant is indigent, any unnecessary loss of work time would

be critical.   See Muratoski, 413 F. Supp. 2d at 11.             Thus, this

factor favors transfer.

    Expense to the parties.       Trial in New Hampshire would

result in various expenses, including the cost of transporting,

housing, and feeding defendant and various witnesses (both hers

and the government’s), the costs associated with travel to

Puerto Rico by the federal defender, and the cost of engaging

translators in Puerto Rico.      Trial in Puerto Rico would save all

of the foregoing expenses, but impose on the government the cost

of sending investigators, prosecutors, and evidence to Puerto

Rico or the cost of getting a local prosecutorial team up to

speed.   According to the government, the expenses of trial in

either venue counterbalance.      They do not, if only for the

reason that “the government’s inconvenience is ‘a factor given

little weight when other considerations of convenience suggest

transfer.’”    Muratoski, 413 F. Supp. 2d at 12 (quoting United




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States v. Gruberg, 493 F. Supp. 234, 243 (S.D.N.Y. 1979)).                  But,

beyond that, it seems fairly clear that the costs associated

with trying this case, regardless of who will bear them, will be

lower if the case is tried in Puerto Rico than if it is tried in

New Hampshire.   Accordingly, this factor favors transfer.

    Location of counsel.        Defendant has counsel in New

Hampshire and also has counsel in Puerto Rico, specifically, a

Spanish-speaking attorney from the CJA panel appointed to

represent her at her Rule 5 hearing.         She further argues, in

reliance on Muratoski, that the government will be as ably

represented in Puerto Rico as it would be here, and that if she

were tried in Puerto Rico, “it probably will prove more

convenient to the government . . . to have the [her] close by,”

413 F. Supp. 2d at 12.       The government contends that because

defendant has counsel in both venues, and the only government

counsel familiar with the case is located in New Hampshire, this

factor weights against transfer.         The court is not convinced

that this is such a complicated case that a new set of

government attorneys would have much trouble mastering it in a

short time.   Moreover, the availability of Spanish-speaking

defense counsel in Puerto Rico is no small matter, given that




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defendant is not fluent in English.        This factor points, if only

slightly, in favor of transfer.

    Relative accessibility of the place of trial.             This factor

would seem to be neutral; apart from the costs of getting to

either New Hampshire or Puerto Rico, neither venue appears to be

appreciably more difficult to get to than the other.

    The docket condition of each district or division involved.

The government argues, without much support, that a trial in

Puerto Rico would take place long after the date scheduled for

trial in this district.      Defendant does not address this factor,

and the court will presume that it points in favor of retaining

the case in New Hampshire.

    Any other special considerations relevant to transfer.                 The

defendant identifies the following special considerations: (1)

she has a young child with special needs who is still nursing,

whom she cannot afford to bring to New Hampshire, and for whom

she would be unable to provide care in New Hampshire even if she

were to bring him here; (2) the co-defendant in the case is

currently detained in Puerto Rico on a supervised-release

violation, which makes him more readily available as a witness

in Puerto Rico than he would be in New Hampshire; (3) she has

never set foot in New Hampshire and has been charged only with




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receiving a package from New Hampshire, not with sending

anything to New Hampshire.      The government, in turn, argues that

transferring defendant’s case would effectively result in a

severance from her co-defendant, requiring the government to

assume the unjust and undue burden of prosecuting the same case

twice, in two different districts.          Both sides make good points,

at least in the abstract.

    Regarding the inconvenience associated with dual

prosecutions, in United States v. Morrison, the Court of Appeals

for the Seventh Circuit held that the trial court did not abuse

its discretion when it declined to transfer the charges against

one member of a drug-trafficking conspiracy to the district in

which his contributions to the operation took place.              See 946

F.2d 484, 498-90 (7th Cir. 1991).          In its opinion, the court

noted that given ‘the number of defendants involved, to have

transferred Andrini-Varga’s trial – essentially granting him a

severance – would have given rise to a ‘multiplication of

litigation’ resulting in great inconvenience to the witnesses

involved as well as considerable expense to the government.”

Id.; see also United States v. Kopituk, 690 F.2d 1289, 1323

(11th Cir. 1982) (“The policy favoring joint trials in

conspiracy cases, the convenience of most of the witnesses and




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defendants, and the fact that [the defendant] has failed to

particularize any real prejudice, all lead to the conclusion

that the trial court did not abuse its discretion in refusing to

sever Williams and transfer his case to Jacksonville.”); United

States v. Stinson, 559 F. Supp. 136, 138 (E.D. Tenn. 1982)

(denying motion to transfer when transfer would have “result[ed]

in a single conspiracy charge being tried once in this district

and again in the Eastern District of North Carolina”).              Of

course, determination that a trial court did not abuse its

discretion by not transferring a case under one particular set

of circumstances does not mean that another court would abuse

its discretion by ordering a transfer, even under relatively

similar circumstances.       That said, in Aronoff, Judge Cannella

granted one of the two motions to transfer filed in a three-

defendant criminal case where the defendants were charged with

conspiracy, notwithstanding that transferring the case against

one defendant resulted in two trials on the same claims.              See

463 F. Supp. at 458-60.

    In any event, the government’s argument would have

substantially more force if it were currently preparing to try

both defendants in a single proceeding.         But, because the docket

indicates that the government’s charges against defendant and




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her co-defendant are already proceeding along separate tracks –

trial for defendant has been scheduled and rescheduled, while no

trial date has been set for her co-defendant – the government’s

reliance on the theoretical inconvenience of separate trials

rings hollow.

    Defendant’s concerns about caring for her young son,

however, ring true.     Apart from the fact that defendant herself

is located in Puerto Rico, her young son, along with the rest of

her family and friends who could provide assistance with caring

for him, are all in Puerto Rico.         In Aronoff, Judge Cannella

characterized the circumstances of the defendant whose case he

transferred in the following way:

         Robinson lives in St. Clair County, in the Eastern
    District of Michigan, with his wife and three children,
    aged 14, 12, and 11. He would be unable to afford to
    bring his family with him to New York. A prolonged
    trial in this district, therefore, would deprive him of
    their support during a trying time, and would deprive
    his family of his presence.

463 F. Supp. at 458.     While a defendant’s family situation is

only one consideration among many, it is plainly something the

court can take into account, and here, the special needs of

defendant’s young son are, if anything, more compelling than the

family situation in Aronoff that formed part of the basis for

transferring the defendant’s case.         In short, the fact that the




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government was already proceeding against defendant separately

from her co-defendant, in conjunction with her son’s special

needs, tilts the final Platt factor in favor of transfer.


                                 Conclusion

      Seven of the Platt factors favor transferring this case to

Puerto Rico.    One factor favors retention, and two are neutral.

On balance, then, the Platt factors support transfer.              For the

convenience of the defendant and witnesses, and in the interest

of justice, defendant’s motion to transfer this case to the

United States District Court for the District of Puerto Rico,

document no. 10, is granted.

      SO ORDERED.



                                    __________________________
                                    Landya McCafferty
                                    United States Magistrate Judge


December 19, 2011

cc:   Jennifer C. Davis, Esq.
      Jeffrey S. Levin, Esq.
      United States Marshal
      United States Probation




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